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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                               §
UNILOC USA, INC., and                          §
UNILOC LUXEMBOURG, S.A.,                       §       Civil Action No. 1:17-cv-00753-LY
                                               §
                         Plaintiffs,           §
                                               §
v.                                             §
                                               §
BLACKBOARD INC.,                               §
                                               §
                         Defendant.            §
                                               §

                             PLAINTIFFS’ MOTION TO STAY
                         PENDING APPEAL IN A RELATED MATTER


          Plaintiffs, Uniloc USA, Inc. and Uniloc Luxembourg, S.A. (collectively “Uniloc”),

respectfully submit this motion to stay this case pending appeal in a related matter.

          On September 28, 2017, in a related case, the court in the Eastern District of Texas ruled

the claims at issue in this case are drawn to ineligible subject matter. Uniloc USA, Inc. et al v.

ADP, LLC, et al., No. 2:16-cv-00741, Dkt. No. 267 (E.D. Tex. Sept. 28, 2017) (“ADP Order”).

On September 29, 2017, Defendant in this action, Blackboard, Inc. (“Blackboard”), filed a

motion for summary judgment, based on that decision’s having created issue preclusion. See Dkt.

No. 19.

          On October 27, Uniloc appealed the ADP Order to the Federal Circuit. Uniloc expects a

ruling on appeal in the next 12 months. The outcome of that appeal will affect the ultimate result

in this parallel case (and other cases Uniloc filed on the same patents).

          Uniloc agrees the ADP Order would govern claims asserted against Blackboard in this

case, and other cases on those patents.        Uniloc also agrees the ADP Order creates issue


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preclusion, which prevents Uniloc’s asserting those claims against Blackboard, or other

defendants, unless and until the ADP Order is vacated. For that reason, the defendants in all but

one of the other cases on these patents have stipulated to a dismissal of their cases, without

prejudice, to await the outcome of the appeal. (Among the cases dismissed without prejudice was

Uniloc v. Box, Inc., Civil Action No. 1:17-cv-00755).

        Blackboard, for reasons of its own, is thus virtually alone among the many defendants in

these now scattered cases, in wanting to press forward, even though any time or resources the

parties and the Court would spend on this matter during the appeal could well be wasted. After

all, if the appeal results in a reversal, then any intervening decision on fees and costs would be

moot.

        The Court’s options are: (1) Stay the case, pending the outcome of Uniloc’s appeal; or

(2) dismiss the action with prejudice, in which case the dismissal will also be appealed, and the

appeal likely stayed by the Federal Circuit to await the outcome of the ADP appeal.

        “A trial court has broad discretion to stay all proceedings in an action pending the

resolution of independent proceedings elsewhere.” Landis v. N. Am. Co., 229 U.S. 248, 254

(1936). Indeed, “[a] trial court may, with propriety, find it is efficient for its own docket and the

fairest course for the parties to enter a stay of an action before it, pending resolution of

independent proceedings which bear upon the case.”           Leyva v. Certified Grocers of Cal.,

Ltd., 593 F.2d 857, 863–64 (9th Cir. 1979). Courts often stay cases pending the resolution of a

related case. See, e.g., Fairview Hosp. v. Leavitt, 2007 WL 1521233, at *3 n.7 (D.D.C. May 22,

2007) (granting a stay pending the resolution of another matter that would likely settle or simply

issues even though it “would not foreclose the necessity of litigation in [the stayed] case”); In re

Literary Works in Elec. Databases Copyright Litig., 2001 WL 204212 (S.D.N.Y. Mar. 1, 2001)



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(staying a civil copyright action pending the resolution of a related case before the Supreme

Court of the United States because any holding would “significantly impact” the multidistrict

litigation); Marshel v. AFW Fabric Corp., 552 F.2d 471, 472 (2d Cir.1977), vacated and

remanded for consideration of mootness, 97 S.Ct. 228 (1976) (instructing district court to stay

further proceedings pending a Supreme Court decision in a closely related case which was likely

to determine the question of liability).

         Uniloc asks the Court to stay the case, pending appeal. If the Federal Circuit reverses,

then the parties will simply pick up where they left off. Conversely, if the Federal Circuit

affirms the ADP Order, then the Court would enter judgment in this case at that time.

         At the initial pretrial conference, Blackboard’s counsel mentioned that the Court could

decide its motion for an award of costs under Rule 41(d) (Dkt. No. 17) without waiting for the

outcome of the appeal. Uniloc would not object to making that motion an exception to the stay,

if the Court wishes. But in a related case, Uniloc v. Box, Inc., CA No. 1:17-cv-00755, before this

Court, Box filed an identical motion (Dkt. No. 22), to which Uniloc yesterday filed its

Opposition (Dkt. No. 24), a copy of which is attached to this Motion as Exhibit A. The Court

may want to decide the Box motion before deciding whether to exempt Blackboard’s motion

from the stay.

         Uniloc respectfully requests that the Court stay this case pending appeal of the ADP

Order.




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Dated: November 3, 2017                    Respectfully submitted,

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                                           ATTORNEYS FOR THE PLAINTIFFS


                                CERTIFICATE OF SERVICE

       I certify that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3)
on November 3, 2017.

                                           /s/ James J. Foster




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